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' F"-ED B¥ ________ Dc
IN THE UNITED STATES DISTRICT COURT `.

FOR THE wESTERN DISTRICT oF TENNESS 95 - .
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W!QXKD

» , ._.v. ‘“PVGFOOLM
1€{'1_`) :%,i§§yiF'HJS
TERESA TIPTON,

Plaintiff,
vs. No. 04-2942-Ml/An
ANSWERING MEMPHIS,

Defendant.

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ORDER GRANTING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Teresa Tipton filed.a ppg §§ complaint pursuant
to Title VII of the Civil Rights Act Of 1964, 42 U.S.C. § 2000e pp
§§gp, on November 18, 2004. On November 19, 2004, Plaintiff filed
an application seeking leave to proceed ip fp;m§ pauperis and for
appointment of counsel. Based on the information set forth in the
Plaintiff's affidavit, the motion to proceed ip §ppmg pauperis is
GRANTED. The Clerk shall record the Defendant as Answering Memphis.

The Plaintiff has filed a motion seeking appointment of
counsel. Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight

U.S.C. § 1915(d) provides that the “court may request an attorney

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with sum 55 and/or 79(@) FRCP on ;S' I~O§ §3/

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to represent any such person unable to employ counsel.”l Similarly,

under 42 U.S.C. § 2000e-5(f)(1), “upon application by the

complainant and in such circumstances as the court may deem just,

the court may appoint an attorney.” However, “[t]here is no
constitutional or . . . statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).

Generally; a court Will only appoint counsel in exceptional

circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.

 

1977). Although “no comprehensive definition of exceptional

circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th

 

Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
ppg §§ litigant's prior efforts to retain counsel, and his ability
to present the claims. Henrv v. Citv of Detroit Manpower Dep't, 763
F.2d 757, 760 (6th Cir. 1985); Wigqins v. Sarqent, 753 F.2d 663,
668 (8th Cir. 1985).

As a general rule, counsel should be appointed in civil
cases only if a litigant has made “a threshold showing of some

likelihood of merit.” Cooper v. A. Sarqenti Co., 877 F.2d 170, 174

 

1 However, “§ 1915(d) does not authorize the federal courts to make
coercive appointments of counsel” to represent indigent civil litigants. Mallard

v. United States Dist. Court, 490 U.S. 296, 310 (1989).
2

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(2d Cir. 1989).2 At this stage of the proceedings, before the Court
has had the opportunity to assess the strength of Plaintiff's case,
the Court is unable to conclude that Plaintiff has satisfied that
standard. Moreover, a review of this Complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint Counsel. Accordingly, the motion for
appointment of counsel is DENIED.

It is ORDERED that the Clerk shall issue process for the
Defendant and deliver said process to the marshal for service.
Service shall be made on the Defendant pursuant to Fed. R. Civ. P.
4(h)(l). All costs of service shall be advanced by the United
States.

It is further ORDERED that the Plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for the Defendant, or on the Defendant if it has no attorney. The
Plaintiff shall make a certificate of service on every document
filed. The Plaintiff shall familiarize herself with the Federal
Rules of Civil Procedure and this Court's Local Rules.

The Plaintiff shall promptly notify the Clerk of any

change of address or whereabouts. Failure to comply with these

 

2 The Second Circuit elaborated: “Courts do not perform a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent."
Id.

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requirements, or any other order of the Court, may result in this

case being dismissed without further notice.

IT IS SO ORDERED this l day of August, 2005.

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JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02942 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

Teresa Tipton
794 Spring Street
l\/lemphis7 TN 38112

Honorable Jon McCalla
US DISTRICT COURT

